                        Case 3:19-mj-08080-MAT Document 1 Filed 08/26/19 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                                                                                             FILED
                                                                                                           08/26/2019
                               WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                          Clerk, U.S. District Court
                                                                                                    Western District of Texas


                                                                                              By:               RRV
                                                                                                                                 Deputy




USA                                                             §
                                                                § CRIMINAL COMPLAINT
vs.                                                             § CASE NUMBER: EP:19-M -08080(1) - MAT
                                                                §
(1) JUAN JOSE MERCADO-GARCIA                                    §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about August 22, 2019 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after

having been previously excluded, deported, or removed from the United States without receiving permission to reapply

for admission to the United States from the Attorney General of the United States and the Secretary of Homeland

Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title              8               United States Code, Section(s)      1326

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts:

"The DEFENDANT, Juan Jose MERCADO-Garcia, an alien to the United States and a citizen of El Salvador was found

approximately 2.96 miles west of the Paso Del Norte Port of Entry in El Paso, Texas in the Western District of Texas.

From

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                               Signature of Complainant
                                                                               Machuca, Alexis
                                                                               Border Patrol Agent

08/26/2019                                                                at   EL PASO, Texas
File Date                                                                      City and State



MIGUEL A. TORRES                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                                 Signature of Judicial Officer
                  Case 3:19-mj-08080-MAT Document 1 Filed 08/26/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08080(1)

WESTERN DISTRICT OF TEXAS

(1) JUAN JOSE MERCADO-GARCIA

FACTS   (CONTINUED)

statements made by the DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native
and citizen of El Salvador, without immigration documents allowing him to be or remain in the United States
legally. The DEFENDANT has been previously removed from the United States to El Salvador on 04/30/2019
through Phoenix, Az. The DEFENDANT has not previously received the expressed consent from the Attorney
General of the United States or the Secretary of Homeland Security to reapply for admission into the United
States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
The DEFENDANT has been deported 2 time(s), the last one being to EL SALVADOR on April 30, 2019, through
PHOENIX, AZ


CRIMINAL HISTORY:
10/22/2018, Sylvan Lake, MI, Traffic Offense(F), ACC, 90 days.
04/16/2019, El Paso, TX, 8 USC 1325(M), CNV, 49 days.
